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  NOT FOR PUBLICATION                                                                     CLOSED

                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


  HAROLD M. HOFFMAN,                                      Civil Action No. 15-48 10 (CCC-JBC)

                          Plaintiff,                                    ORDER
            V.


  TELEFLORA LLC, etal.,

                          Defendants.

  CECCHI, District Judge.

            This matter comes before the Court on the motion of pro se Plaintiff Harold M. Hoffman

  (“Plaintiff’) to remand this matter to state court for lack of federal subject matter jurisdiction.

 (ECF No. 6.) Defendant Teleflora LLC opposed Plaintiffs motion. (ECF No. 7.) On January

  19, 2016, Magistrate Judge James B. Clark issued a Report and Recommendation (“R&R”) that

 Plaintiffs motion to remand to state court for lack of federal subject matter jurisdiction be

 granted. (ECF No. 9.) No objections have been filed thereto. The Court has considered the

 submissions of the parties, and Judge Clark’s R&R, and for substantially the same reasons stated

 therein;

            ITlSonthis        dayof                                               ,2016

            ORDERED this Court adopts Judge Clark’s January 19, 2016 R&R that Plaintiffs

 motion to remand be granted; and it is further

         ORDERED this action be remanded; and it is further

         ORDERED the Clerk of the Court shall close the file in this matter.

         SO ORDERED.

                                                                 CLAIRE C. CECCHI,
